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                           UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


 ANOKHY DESAI, on behalf of herself and                Case No.
 all others similarly situated,

                PLAINTIFF,                             CLASS ACTION COMPLAINT
                                                       AND DEMAND FOR JURY TRIAL
        V.


 CARNEGIE MELLON UNIVERSITY,

                DEFENDANT.



       Plaintiff, Anokhy Desai (“Plaintiff”), by and through her undersigned counsel, brings this

class action against Defendant, Carnegie Mellon University (the “University” or “Defendant”),

and alleges as follows based upon information and belief, except as to the allegations specifically

pertaining to her, which are based on personal knowledge.

                                  NATURE OF THE ACTION

       1.       This is a class action lawsuit on behalf of all persons who paid tuition and/or fees

to attend Carnegie Mellon University for an in-person, hands-on education for the Spring 2020

semester and had their course work moved to online learning. Such persons paid all or part of the

tuition for this semester of approximately $27,908 for ungraduated students and ranging from

approximately $18,369 to $34,000 for graduate students, and mandatory fees that included an

Activity Fee of $132, Transportation Fee of $112, Media Fee of $5, and a Technology Fee of $215,

for a total of $464 (collectively, the “Mandatory Fees”). Other than a portion of the Transportation

Fee, the University has not refunded any amount of the tuition or Mandatory Fees, even though it

has implemented online distance learning starting on March 16, 2020.


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       2.         On or about March 16, 2020, the University also stopped providing any of the

services or facilities the Mandatory Fees were intended to cover because of the University’s

response to the Coronavirus Disease 2019 (“COVID-19”) pandemic.

       3.         The University’s failure to provide the services for which tuition and the Mandatory

Fees were intended to cover since approximately March 16, 2020 is a breach of the contracts

between the University and Plaintiff and the members of the Class and is unjust.

       4.         In short, Plaintiff and the members of the Class have paid for tuition for a first-rate

education and an on-campus, in-person educational experience, with all the appurtenant benefits

offered by a first-rate university, and were provided a materially deficient and insufficient

alternative, which constitutes a breach of the contracts entered into by Plaintiff and the Class with

the University.

       5.         As to the Mandatory Fees, Plaintiff and the Class have paid fees for services and

facilities which were simply not being provided; this failure also constitutes a breach of the

contracts entered into by Plaintiff and the Class with the University.

       6.         Plaintiff seeks, for herself and Class members, the University’s disgorgement and

return of the pro-rated portion of its tuition and Mandatory Fees, proportionate to the amount of

time that remained in the Spring 2020 semester when the University closed and switched to online

distance learning.

                                               PARTIES

       7.         Plaintiff Anokhy Desai is a citizen of Pennsylvania and resides in Allegheny

County, Pennsylvania. She paid to attend the Spring 2020 semester at the University as a full-time

Master of Science in Information Security Policy graduate student. Plaintiff paid tuition for the

Spring 2020 semester and the Mandatory Fees to enable her to obtain an in-person, on-campus



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educational experience and allow her to participate in the activities and to utilize the services

covered by the Mandatory Fees that she paid. She has not been provided a pro-rated refund of the

tuition for her in-person classes that were discontinued and moved online, or the Mandatory Fees,

other than a portion of the Transportation Fee, that she paid after the University’s facilities were

closed and events were cancelled.

        8.       Defendant, Carnegie Mellon University, is a private research university that was

originally founded as the Carnegie Technical Schools in 1900 by Andrew Carnegie, becoming

known as Carnegie Mellon University in 1967. The University offers numerous major fields for

undergraduate students, as well as a number of graduate programs. Defendant’s undergraduate

and graduate programs include students from many, if not all, of the states in the country. Its

principal campus is located in Pittsburgh, Pennsylvania. Defendant is a citizen of Pennsylvania.

                                  JURISDICTION AND VENUE

        9.       The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below, is a citizen of a different state than Defendant, there are more than 100 members

of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of interests

and costs.

        10.      This Court has personal jurisdiction over Defendant because Defendant maintains

its principal place of business in this District.

        11.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because Defendant

resides in this District.




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                                   FACTUAL ALLEGATIONS.

        12.      Plaintiff and Class Members paid to attend the University’s Spring 2020 semester

including tuition and the Mandatory Fees. The Spring 2020 semester at the University began on

or about January 13, 2020. The Spring 2020 semester ended on or around May 11, 2020.

        13.      Tuition at the University for in-person education for the Spring 2020 semester was

approximately $27,908 for ungraduated students, and ranged from approximately $18,369 to

$34,000 for graduate students.

        14.      Plaintiff and the members of the Class paid tuition for the benefit of on-campus live

 interactive instruction and an on-campus educational experience throughout the entire Spring

 2020 semester.

        15.      Plaintiff and the members of the Class paid the Mandatory Fees for the Spring 2020

semester so they could benefit throughout the Spring 2020 semester as follows:

                STUDENT ACTIVITIES FEE: used to cover student programming and events on
                campus.

                MEDIA FEE: assessed to undergraduate students only to support the newspaper
                program.

                TECHNOLOGY FEE: used to support information technology, software licensing,
                and the Andrew email system.

                TRANSPORTATION FEE: used to support students' local transportation needs.


 In Response to COVID-19, the University Closed Campus, Preventing Access to its Facilities,
            Services, Housing, and Dining, and Cancelled All In-Person Classes

        16.      In response to the COVID-19 pandemic, the University created a new section for

its online website - https://www.cmu.edu/coronavirus/index.html - to post news alerts and

responses to frequently asked questions in order to provide students and faculty with the most up-

to-date information regarding the University’s response to the pandemic.


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         17.        On March 11, 2020, by way of announcement on its website and via letter from

University President Farnam Jahanian, the University advised that starting on March 16, when

students were scheduled to return from spring break, all in-person classes were to be moved to

online remote learning for the remainder of the Spring 2020 semester.

         18.        The University stated that it was also cancelling all clubs, sports, and events for the

remainder of the semester. Specifically, the website contained the following information:




         19.        The University announced that it will be closing all campus buildings and facilities,

only keeping one building open for students to pick up online food orders. Specifically, the website

contained the following information:




         20.        The University announced that it will be closing the University libraries and fitness

centers, stating:


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       21.      The University then posted on its website that the May 17, 2020 commencement

was to be postponed and that all degrees will be conferred virtually.

       22.      The University has not held any in-person classes since March 5, 2020, before the

commencement of spring break. All classes since March 16, 2020 have only been offered in a

remote online format with no in-person instruction or interaction.

       23.      Most of the services for which the Mandatory Fees were assessed were also

terminated or cancelled at or about this time, such as access to or participation in University events,

programs or services; fitness facilities; student organizations, clubs or sports; and an in-person

commencement.

       24.      Although the University has provided an option to receive a refund for pro-rated

meal plans, housing costs, and Transportation Fees, the University has not provided reimbursement

or refund information regarding tuition or the other Mandatory Fees.

       25.      In tacit acknowledgement that the online education system is substantially different

and inadequate, the University allowed students to receive and view a letter grade for each class,

with the election to change that letter grade to a Pass or No Pass indication instead if they were

unhappy with the grade received.




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 The University’s Online Courses Are Subpar to In-Person Instruction, For Which Plaintiff
and the Class Members Contracted with the University to Receive by Paying Tuition and Fees

       26.      Students attending the University’s Spring 2020 semester did not choose to attend

an online institution of higher learning, but instead chose to enroll in the University’s in-person

educational program.

       27.      On its website, the University markets the University’s on-campus experience and

location in Pittsburgh as a benefit of enrollment:




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       28.      The online learning options being offered to the University’s students are sub-par

in practically every aspect as compared to what the educational experience afforded Plaintiff and

the members of the Class once was. During the online portion of the Spring 2020 semester, the

University principally used programs by which previously recorded lectures were posted online

for students to view on their own, or by virtual Zoom meetings. Therefore, there was a lack of

classroom interaction among teachers and students, and among individual students that is

instrumental in interpersonal skill development.

       29.      The online formats being used by the University do not require memorization or

the development of strong study skills given the absence of any possibility of being called on in

class and the ability to consult books and other materials when taking exams.

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       30.      Students have been deprived of the opportunity for collaborative learning and in-

person dialogue, feedback, and critique.

       31.      Further, the ability to first review your letter grade, then change to a Pass or No

Pass designation if unhappy, provides the students with an educational leniency that does not

require the motivation or discipline that would be otherwise required under the usual in-person

letter grading system.

       32.      Access to facilities such as libraries, laboratories, computer labs, and study rooms,

are integral to a college education, and access to the myriad of activities offered by campus life

fosters social development and independence as well as networking for future careers, all

substantial and material parts of the basis upon which the University can charge the tuition it

charges, are not being provided.

       33.      The University has not made any refund of any portion of the tuition Plaintiff and

the members of the Class paid for the Spring 2020 semester for the period it moved to subpar

online distance learning.

       34.      Nor has the University refunded any portion of the Mandatory Fees, other than a

portion of the Transportation Fee, it collected from Plaintiff and the members of the Class for the

Spring 2020 semester even though it closed or ceased operating the services and facilities for which

the Mandatory Fees were intended to pay.

       35.      Plaintiff and the Class members are therefore entitled to a pro-rated refund of the

tuition and Mandatory Fees they paid for the Spring 2020 semester for the remaining days of that

semester after classes moved from in-person to online and facilities were closed.




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                              CLASS ACTION ALLEGATIONS

       36.     Plaintiff brings this case individually and, pursuant to Rule 23 of the Federal Rules

of Civil Procedure, on behalf of the class defined as: All persons who paid tuition and/or the

Mandatory Fees for a student to attend in-person class(es) during the Spring 2020 semester at the

University but had their class(es) moved to online learning (the “Class”).

       37.     This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

       38.     The requirements of Rule 23(a)(1) are satisfied. The Class is so numerous that

joinder of all members is impracticable. Although the precise number of Class members is

unknown to Plaintiff, the University has reported that an aggregate of 13,278 undergraduate and

graduate students have enrolled for the 2019-2020 school year. The names and addresses of all

such students are known to the University and can be identified through the University’s records.

Class members may be notified of the pendency of this action by recognized, Court-approved

notice dissemination methods, which may include U.S. Mail, electronic mail, Internet postings,

and/or published notice.

      39.      The requirements of Rule 23(a)(2) are satisfied. There are questions of law and

fact common to the members of the Class including, without limitation:

       a.      Whether the University accepted money from Plaintiff and the Class members in

       exchange for the promise to provide an in-person and on-campus live education, as well as

       certain facilities and services throughout the Spring 2020 semester;

       b.       Whether Defendant breached its contracts with Plaintiff and the members of the

       Class by failing to provide them with an in-person and on-campus live education after

       March 5, 2020;



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       c.      Whether Defendant breached its contracts with Plaintiff and the Class by failing to

       provide the services and facilities to which the Mandatory Fees pertained after mid-March

       2020; and

       d.      The amount of damages and other relief to be awarded to Plaintiff and the Class

       members.

       40.     The requirements of Rule 23(a)(3) are satisfied. Plaintiff’s claims are typical of the

claims of the members of the Class because Plaintiff and the other Class members each contracted

with Defendant for it to provide an in-person and on-campus live education for the tuition they

paid and the services and facilities for the Mandatory Fees that they paid, that the University

stopped providing in mid-March.

       41.     The requirements of Rule 23(a)(4) are satisfied. Plaintiff is an adequate class

representative because her interests do not conflict with the interests of the other Class members

who she seeks to represent, Plaintiff has retained competent counsel who are experienced in

complex class action litigation, and Plaintiff intends to prosecute this action vigorously. Class

members’ interests will be fairly and adequately protected by Plaintiff and her counsel.

       42.     Class certification of Plaintiff’s claims is also appropriate pursuant to Rule 23(b)(3)

because the above questions of law and fact that are common to the Class predominate over

questions affecting only individual members of the Class, and because a class action is superior to

other available methods for the fair and efficient adjudication of this litigation. The damages or

financial detriment suffered by individual Class members are relatively small compared to the

burden and expense of individual litigation of their claims against the University. It would, thus,

be virtually impossible for the Class, on an individual basis, to obtain effective redress for the

wrongs committed against them. Furthermore, individualized litigation would create the danger



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of inconsistent or contradictory judgments arising from the same set of facts. Individualized

litigation would also increase the delay and expense to all parties and the court system from the

issues raised by this action.     By contrast, the class action device provides the benefits of

adjudication of these issues in a single proceeding, economies of scale, and comprehensive

supervision by a single court, and presents no unusual management difficulties under the

circumstances.

                                  FIRST CLAIM FOR RELIEF

                                   BREACH OF CONTRACT
                               (On Behalf of Plaintiff and the Class)

          43.    Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          44.    Plaintiff brings this claim individually and on behalf of the members of the Class.

          45.    By paying the University tuition and the Mandatory Fees for the Spring 2020

semester, the University agreed to, among other things, provide an in-person and on-campus live

education as well as the services and facilities to which the Mandatory Fees they paid pertained

throughout the entire Spring 2020 semester. As a result, Plaintiff and each member of the Class

entered into a binding contract with the University.

          46.    The University has breached its contract with Plaintiff and the Class by failing to

provide the promised in-person and on-campus live education as well as the services and facilities

to which the Mandatory Fees pertained throughout the Spring 2020 semester, yet has retained

monies paid by Plaintiff and the Class for a live in-person education and access to these services

and facilities during the entire Spring 2020 semester. Plaintiff and the members of the Class have

therefore been denied the benefit of their bargain.




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          47.   Plaintiff and the members of the Class have suffered damage as a direct and

proximate result of the University’s breach in the amount of the prorated portion of the tuition and

Mandatory Fees they each paid during the portion of time the Spring 2020 semester in which in-

person classes were discontinued and facilities were closed by the University.

          48.   The University should return such portions of the tuition and Mandatory Fees to

Plaintiff and each Class Member.

                                SECOND CLAIM FOR RELIEF

                                   UNJUST ENRICHMENT
                              (On Behalf of Plaintiff and the Class)

          49.   Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          50.   Plaintiff brings this claim individually and on behalf of the members of the Class

in the alternative to the First Claim for Relief, to the extent it is determined that Plaintiff and the

Class do not have an enforceable contract with the University regarding the relief requested.

          51.   Plaintiff and members of the Class conferred a benefit on the University in the form

of tuition and the Mandatory Fees paid for the Spring 2020 semester. The payment of this tuition

and Mandatory Fees were to be in exchange for an in-person, on-campus educational experience

and access to services and facilities to be provided to Plaintiff and the members of the Class

throughout the Spring 2020 semester.

          52.   The University has retained the full benefit of the tuition and Mandatory Fees

payment by Plaintiff and the members of the Class for the Spring 2020 semester, yet has failed to

provide the quality of education and services and facilities for which tuition and the Mandatory

Fees were paid, including those for an in-person and on-campus live education, and access to the

University’s services and facilities.

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        53.      The University’s retention of the portion of the tuition and Mandatory Fees during

the period of time the University has been closed, and Plaintiff and the members of the Class have

been denied an in-person and on-campus live education and access and the services and facilities

for which the Mandatory Fees were paid, is unjust and inequitable under the circumstances.

        54.      Accordingly, the University has been unjustly enriched in the amount of the

prorated tuition and Mandatory Fees it retained during the portion of time the Spring 2020 semester

in which in-person classes were discontinued and facilities were closed by the University.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that judgment be entered in favor of Plaintiff

and the Class against Defendant as follows:

        (a)      For an order certifying the Class under Rule 23 of the Federal Rules of Civil

        Procedure and naming Plaintiff as representative of the Class and Plaintiff’s attorneys as

        Class Counsel to represent the Class;

        (b)      For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

        (c)      For compensatory damages in an amount to be determined by the trier of fact;

        (d)      For an order of restitution and all other forms of equitable monetary relief;

        (e)      Awarding Plaintiff’s reasonable attorneys’ fees, costs, and expenses;

        (f)      Awarding pre- and post-judgment interest on any amounts awarded; and,

        (g)      Awarding such other and further relief as may be just and proper.

                                 DEMAND FOR TRIAL BY JURY

        Pursuant to the Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of

any and all issues in this action so triable of right.




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Dated: June 5, 2020                        Respectfully submitted,

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